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     DIEMER & WEI, LLP
 1   Kathryn S. Diemer (#133977)
     Paul J. Johnson (#320642)
 2   Wing C. Dam (#337994)
     55 S. Market Street, Suite 1420
 3   San Jose, California 95113
     Telephone: (408) 971-6270
 4   Facsimile: (408) 971-6271
 5   Attorneys for Defendants,
     ColigoMed, Inc.
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10     National Specialty Pharmacy, LLC, a limited
       liability company,                                Case No. 5:23-CV-4357
11
                                       Plaintiff,        DECLARATION OF PAUL JOHNSON
12                                                       IN SUPPORT OF DEFENDANT
                                       vs.               COLIGOMED, INC.’S MOTION TO
13                                                       DISMISS FIRST AMENDED
       Sameer Padhye, an individual, Maybelline          COMPLAINT
14     Sana, an individual, Rayne Bridges, an
       individual, Abhinay Padhye, an individual,        Date: November 30, 2023
15     ColigoMed, Inc., a Delaware corporation,          Time: 10:00 a.m.
       Enlil, Inc., a Delaware corporation, and Does     Judge: Honorable P. Casey Pitts
16     1-50.                                             Place: Courtroom 8, 4th Floor, San Jose
17                                     Defendants.       Federal Courthouse

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19
                                 DECLARATION OF PAUL JOHNSON
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            1.      The following matters are of my own personal knowledge and if called upon to
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     testify to the matters stated herein, I could and would competently testify to them.
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            2.      I am an attorney licensed to practice law before this Court and am an associate at
23
     Diemer & Wei, LLP (“Diemer & Wei”), located at 55 S. Market Street, Suite 1420, San Jose, CA
24
     95113, attorneys for Defendant ColigoMed, Inc. (“ColigoMed”).
25
            3.      Attached as Exhibit A to this declaration is a true and correct copy of the statement
26
     of information for Defendant ColigoMed, Inc. on file with the California Secretary of State. I
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     downloaded this statement of information from the Secretary of State website.
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            4.      On October 2, 2023, I sent a meet and confer letter to Cyrus Johnson, counsel for
     Plaintiff National Specialty Pharmacy, LLC (“NSP”), informing him that his client’s First

                                                 1
                                    DECLARATION OF PAUL JOHNSON
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 1   Amended Complaint alleges no facts against ColigoMed to support a cause of action against it and
 2   generally fails to meet the well-known pleading standard under Bell Atl. Corp. v. Twombly, 550
 3   U.S. 544, 570 (2007). I offered to meet and confer with him electronically or telephonically in
 4   attempts to resolve the matter without involving the court but have not since received any
 5   responsive communication from him. A true and correct copy of this letter is attached hereto as
 6   Exhibit B.
 7          5.      The only communication I have receive from Plaintiff’s Counsel, Cyrus Johnson,
 8   is an email on September 29, 2023 stating: “I am not certain how previous contact was missed yet
 9   it was inadvertently. Appended please find courtesy copy of First Amended Complaint from
10   9.15.23 for your reference.” Mr. Johnson did not respond to my later email discussed above in
11   paragraph 4 of this declaration.
12
     Dated: October 5, 2023                             Diemer & Wei, LLP
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                                                        ___/s/ Paul Johnson      ______________
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                                                        Paul Johnson
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                                                 2
                                    DECLARATION OF PAUL JOHNSON
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                   EXHIBIT A
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                   EXHIBIT B
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                                             LAW OFFICES
                                          DIEMER & WEI, LLP
                                   55 S. MARKET STREET, SUITE 1420
KATHRYN S. DIEMER                    SAN JOSE, CALIFORNIA 95113               JULIA M. WEI
                                      TELEPHONE: (408) 971-6270
SUSAN B. LUCE                          FACSIMILE: (408) 971-6271
                                                                              HENRY CHUANG
PAUL J. JOHNSON                                                               WING DAM


                                              October 2, 2023

CYRUS JOHNSON ESQ.
7300 SH 121 STE. 300
McKinney, Texas 75070
Telephone: (972) 516-4322
Email: email@cyrusjohnson.com

               RE:     National Specialty Pharmacy, Inc. v. ColiGoMed Inc. et al.

Dear Cyrus Johnson

         My firm has been retained by ColigoMed, Inc. to represent it in the lawsuit that you filed against
it in the Northern District of California. This lawsuit is to inform you of the defects in the First
Amended Complaint (“FAC”) and to meet and confer with you regarding dismissal of the FAC.

        As you are no doubt aware, a complaint in Federal Court must allege "enough facts to state a
claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The
problems with the complaint you filed are twofold. I previously wrote to you regarding these defects
and my firm filed a detailed motion to dismiss on this issues as to the original complaint. The FAC did
not address these issues in anyway.

        First, the complaint, and the FAC, alleges no facts at all against ColigoMed to support a cause of
action against it. ColigoMed is listed as a Defendant in the causes of action for tortious interefence,
conversion, conspiracy to convert, misappropriation of trade secrets, and unfair business practices. The
complaint alleges no action by ColigoMed to support that it is liable under any of these theories, or any
under theory. For example, in the context of tortious interference, the Complaint does not allege that
ColigoMed was aware of any of Plaintiff’s contracts nor that it took any actions to interfere with them.

        The only difference as to the allegations regarding ColigoMed appears to be in paragraph 56 of
the FAC which now alleges that all of the Defendnats, including ColigoMed “data mined” “sensitive
private information and trade secrets” belonging to Plaintiff. The complaint still does not specify at all
what ColigoMed supposedly took or how it took. Your use of the word “data mined”, which you define
as “take” is nonsensical. If the phrase is interpreted as just as to “take” it is utterly ambiguous and adds

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no more specifity to the complaint. It is no different than saying “Defendants took Plaintiff’s undefined
trade secrets”, which, as laid out in our prior motion to dismiss, falls far short of the federal pleading
standard. Webster defines datamining as “the practice of searching through large amounts of
computerized data to find useful patterns or trends.” Nothing in your complaint complaint specifies that
ColigoMed did this to any of your client’s private data.

         Second, the only facts alleged specifically in regard to ColigoMed is that “On information and
belief, it is suspected that Defendant Padhye also owns and/or controls Coligomed and that Coligomed
acted as a conduit and/or recipient of beneficiary of improperly obtained company proprietary property”
FAC, ¶ 8. Primarily, this fails to satisfy any federal pleading standard to support a cause of action.
Additionally, attached to this letter is the Statement of Information for ColigoMed on file with the
California Secretary of State. A-Padhye is listed no where on the statement of information and A-
Padhye in fact has no ownership interest in ColigoMed. Please also note that Federal Rule of Civil
Procedure 11(b)(3) requires that factual allegations in a complaint have evidentiary support or are likely
to have evidentiary support.

       We will set the hearing for the motion to dismiss on November 30, 2023. Please let us know if
you are unavailable on that date.

       My firm is available to meet and confer regarding the amended complaint by e-mail, and we are
available to set up a telephone call to discuss your complaint anytime this week. My e-mail address is
pjohnson@diemerwei.com.

                                                     Very Truly Yours,

                                                     Paul Johnson, Esq.




                                                                               Meet and Confer Letter
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